         Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 1 of 8




1    McGREGOR W. SCOTT
     United States Attorney
2    WILLIAM S. WONG
     JASON HITT
3    Assistant U.S. Attorneys
     501 I Street, Suite 10-100
4    Sacramento, California 95814
     Telephone: (916) 554-2700
5
6
7
8                 IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          2:96-CR-00350-WBS
                                   )
12                  Plaintiff,     )          FINAL ORDER OF FORFEITURE
                                   )
13             v.                  )
                                   )
14   HUY CHI LUONG,                )
          aka "Jimmy Luong",       )
15        aka "Chi Fei", et al.    )
                                   )
16              Defendants.        )
     ______________________________)
17
18        WHEREAS, on December 1, 2006, this Court entered a Preliminary
19   Order of Forfeiture pursuant to the provisions of 18 U.S.C.
20   § 982(a)(1) based on the guilty verdicts entered October 4, 2006,
21   against defendant Huy Chi Luong forfeiting to the United States the
22   following property:
23        a. Real property located at 7825 Skander Way, Sacramento,
          California, Assessor’s Parcel Number 051-0383-030, and
24
          b. Real property located at 8853 Dorington Court, Elk
25        Grove, California, Assessor’s Parcel Number 116-0820-009.
26        AND WHEREAS, on January 4, 11, and 18, 2007, the United States
27   published notification of the Court's Preliminary Order of
28   Forfeiture in The Daily Recorder (Sacramento County), a newspaper of

                                          1
         Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 2 of 8




1    general circulation located in the county in which the above-
2    described properties are located.        Said published notice advised all
3    third parties of their right to petition the court within thirty
4    (30) days of the publication date for a hearing to adjudicate the
5    validity of their alleged legal interest in the forfeited
6    properties;
7         AND WHEREAS, the United States sent direct written notice to
8    World Savings Bank, FSB; Eskanos & Adler, P.C.; Smud; U.S.
9    Attorney’s Office, FLU, Northern District; Muoi Lam and Tu Tu Luong;
10        AND WHEREAS, on or about January 25, 2007, World Savings Bank,
11   FSB filed Petitions For Ancillary Hearing regarding both real
12   properties listed above, as lien holders of the properties;
13        AND WHEREAS, the Court has been advised that no other third
14   party has filed a claim to the subject properties, and the time for
15   any person or entity to file a claim has expired.
16        Accordingly, it is hereby ORDERED and ADJUDGED:
17        1.   A Final Order of Forfeiture shall be entered forfeiting to
18   the United States of America all right, title, and interest in the
19   above-listed properties pursuant to 18 U.S.C. § 982(a)(1), to be
20   disposed of according to law, including all right, title, and
21   interest of Huy Chi Luong.
22        2.   Pursuant to the Stipulation for Expedited Settlement
23   approved by the Court on or about February 28, 2007, regarding the
24   real property located at 7825 Skander Way, Sacramento, California,
25   Assessor’s Parcel Number 051-0383-030-00 (hereafter "Skander
26   Property") and more fully described in Exhibit A attached hereto,
27   upon entry of this Final Order of Forfeiture forfeiting the Skander
28   Property to the United States and sale of the Skander Property, the

                                          2
         Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 3 of 8




1    U.S. Marshals Service shall pay Petitioner World Savings Bank, FSB
2    from the proceeds of the sale, after payment of outstanding taxes
3    and expenses incurred by the U.S. Marshals Service in connection
4    with its custody and sale of the Skander Property, the following:
5               a.   All unpaid principal due to the Petitioner under
6                    the Deed of Trust recorded in Sacramento County,
7                    California, as instrument number 199508080717,
8                    and dated August 1, 1995 and recorded on August
9                    8, 1995.   Said Deed of Trust secured a
10                   promissory note in the original amount of
11                   $35,000.00 dated August 1, 1995.       As of January
12                   17, 2007, the principal balance due and owing on
13                   the Note was $23,093.40, together with accrued
14                   interest, including, but not limited to,
15                   insurance premiums and property taxes, if any,
16                   advanced under the terms of the Deed of Trust.
17              b.   All unpaid interest at the contractual base rate (not
18                   the default rate) under the above Deed of Trust, as
19                   of January 17, 2007 interest is 6.996% per annum,
20                   until the date of payment.
21              c.   Reasonable attorney's fees not to exceed $2,000.00.
22              d.   A total fee of not more than $200 to process a
23                   beneficiary demand statement and to record a
24                   reconveyance of the deed of trust.
25              e.   The exact amount to be paid to World Savings Bank,
26                   FSB shall be determined at the time of payment, but
27                   shall not be less than the amounts set forth above.
28        3.   Payment to Petitioner World Savings Bank, FSB shall be in

                                          3
         Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 4 of 8




1    full settlement and satisfaction of all claims by World Savings
2    Bank, FSB to the Skander Property indicted by the United States on
3    or about August 2, 1996 and of all claims arising from and relating
4    to the seizure, detention, and forfeiture of the Skander Property.
5    The payment to World Savings Bank, FSB shall not include any penalty
6    payments, including any prepayment penalties.
7         4.   Pursuant to the Stipulation for Expedited Settlement
8    approved by the Court on or about February 28, 2007, regarding the
9    real property located at 8853 Dorington Court, Elk Grove,
10   California, Assessor’s Parcel Number 116-0820-009-00 (hereafter
11   "Dorington Property") and more fully described in Exhibit B attached
12   hereto, upon entry of this Final Order of Forfeiture forfeiting the
13   Dorington Property to the United States and sale of the Dorington
14   Property, the U.S. Department of Treasury shall pay Petitioner World
15   Savings Bank, FSB from the proceeds of the sale, after payment of
16   outstanding taxes and expenses incurred by the U.S. Department of
17   Treasury in connection with its custody and sale of the Dorington
18   Property, the following:
19              a.   All unpaid principal due to the Petitioner under the
20                   Deed of Trust recorded in Sacramento County,
21                   California, in Book 95-05-26, Page 97, and dated May
22                   15, 1995 and recorded on May 26, 1995.        Said Deed of
23                   Trust secured a promissory note in the original
24                   amount of $125,000.00 dated May 15, 1995.         As of
25                   January 17, 2007, the principal balance due and owing
26                   on the Note was $93,585.70, together with accrued
27                   interest, including, but not limited to, insurance
28                   premiums and property taxes, if any, advanced under

                                          4
           Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 5 of 8




1                      the terms of the Deed of Trust.
2                b.    All unpaid interest at the contractual base rate (not
3                      the default rate) under the above Deed of Trust, as
4                      of January 17, 2007 interest is 6.827% per annum,
5                      until the date of payment.
6                c.    Reasonable attorney's fees not to exceed $2,000.00.
7                d.    A total fee of not more than $200 to process a
8                      beneficiary demand statement and to record a
9                      reconveyance of the deed of trust.
10               e.    The exact amount to be paid to World Savings Bank,
11                     FSB shall be determined at the time of payment, but
12                     shall not be less than the amounts set forth above.
13         5.   Payment to Petitioner World Savings Bank, FSB shall be in
14   full settlement and satisfaction of all claims by World Savings
15   Bank, FSB to the Dorington Property indicted by the United States on
16   or about August 2, 1996 and of all claims arising from and relating
17   to the seizure, detention, and forfeiture of the Dorington Property.
18   The payment to World Savings Bank, FSB shall not include any penalty
19   payments, including any prepayment penalties.
20         6.   All right, title, and interest in the above-described
21   properties shall vest solely in the name of the United States of
22   America.
23         5.   The U.S. Marshals Service and/or the U.S. Department of
24   ///
25   ///
26   ///
27   ///
28   ///

                                            5
         Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 6 of 8




1    Treasury shall maintain custody of and control over the subject
2    properties until they are disposed of according to law.
3         SO ORDERED THIS 20th day of August, 2007.
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                          6
     Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 7 of 8




1                                 EXHIBIT A
2                        PROPERTY DESCRIPTION
              (7825 Skander Way, Sacramento, California)
3
           The real property situated in the State of
4          California, County of Sacramento, unincorporated
           area, described as follows:
5
           Lot 214 of Scottsdale Unit No. 2, according to
6          the official plat thereof, filed in the office
           of the Recorder of Sacramento County,
7          California, on February 7, 1973, in Book 92 of
           Maps, Map No. 18.
8
           APN: 051-0383-030-00
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      7
     Case 2:96-cr-00350-WBS-AC Document 737 Filed 08/20/07 Page 8 of 8




1                                 EXHIBIT B
2                         PROPERTY DESCRIPTION
                 (8853 Dorington Court, Elk Grove, CA)
3
     All that certain real property in the County of
4    Sacramento, State of California, described as follows:
5    Lot 9, as shown on the Plat of "Camdon Passage East",
     according to the Official Plat thereof, filed in the
6    Office of the Recorder of Sacramento County, in Book 210
     of Maps, Map No. 7.
7
     EXCEPTING THEREFROM all oil, gas asphaltum, minerals and
8    other hydrocarbon substances in or on said land below a
     depth of 500 feet from the surface of said land. Together
9    with the right to produce, develop, explore and extract
     said substances, but without the right of entry on the
10   surface of said land or within 500 feet from the surface
     of said land.
11
     APN: 116-0820-009-00
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      8
